













NUMBER 13-09-00017-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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IN THE INTEREST OF J.A.D.A. AND V.L.D.A, CHILDREN

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On Appeal from the 214th District Court 


of Nueces County, Texas.


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MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Benavides and Vela


Memorandum Opinion Per Curiam


	Appellant, Tamara Danielle Del Angel, perfected an appeal from a judgment entered
by the 214th District Court of Nueces County, Texas, in cause number 05-4162-F. 
Appellant has filed a motion to dismiss the appeal on grounds that the appellant no longer
desires to pursue this matter.  Appellant requests that this Court dismiss the appeal.

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that the motion should be granted.  See Tex. R. App.
P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby DISMISSED. 
Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent agreement of
the parties, the court will tax costs against the appellant.").  Having dismissed the appeal
at appellant's request, no motion for rehearing will be entertained, and our mandate will
issue forthwith.


							PER CURIAM

Delivered and filed the

1st day of April, 2010. 





	


